UNlTED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF V.lRG|N|/-\

Qua|ity Properties Asset l\/lanagement Company
P|aintiff(s)

V_ Civi| Action No.: 3:‘|1-CV-00053

 

 

Trump Virginia Acquisitions LLC, et al.
Derendant(s)

DlSCLOSURE OF CORPORATE AFF|L|AT|ONS AND OTHER ENT|T|ES WITH A DlRECT F|NANICAL
lNTEREST lN LlTlGATlON

 

ONLY ONE FORl\/l NEEDS TO BE COMPE“ETED FOR A PARTY EVEN |FTHE PARTY !S REPRESENTED BY MORE THAN ONE'ATl'ORNEY. DlSCLOSURES lVlUST BE F|LED ON
BEHALF OF lND|VlDUAl_S AS WELL AS CORPORAT|ONS AND OTHER LEGAL-ENTIT]ES. COU.NSEL HAS A CONTlNUlNG DUTY TO UPDATE TH|S lNFOR|`v‘|ATlON.

lF' YOU ANSWER "YES" 'l`O ANY OF THE FOLLOW|NG QUEST|ONS. TH]S STATEMEN? i\/lUST`BE F|LED li\l ECl-` AS A POSi`|'|VE CORPORATE DlSCLOSURE STATEMENT.

Pursuant to Standing Order entered Nlay15,2000.

Trump Vineyard Estates LLC Who is Defendaht
(Name of party you represent) (Plaintiff/Defendant)

 

 

makes the following disciosure:
1. ls the party a publicly held corporation or other publicly held entity?
[`:iYes No

2. Does the party have any parent corporations?
-Yes [:] No
|1c yes, identle all parent corporations, including grandparent and great grandparent corporations:.

Trump Vineyard Estates l\/lanager Corp., D.lT l-loldings LLC, and DJT Ho|dings -l\/lanaging l\/lember LLC

3. ls 10 percent or more ofthe party's stock owned by a publicly held corporation or other publicly held entity?

|:tes -No

lt yes, identify all such owners:

4. ls there any other publicly held corporation or other publicly held entity that has a direct financial interest in the outcome
ofthe lltl atlon?

Yes No

|fyes, identify all such owners:

5. ls the party a trade association?
[:_]Yes No
lf yesr identify all members of the association their parent corporations, and any publicly held companies that own ten (10%)
percent or more ofthe party`s stock:

% 9’/9‘~';/

*'""' iSignature) (Date

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